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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



ABLA ABDEL BASET YOUSSEF,      )
                               )
     PLAINTIFF,                )
                               )
V.                             )           CIVIL ACTION NO: 1:17-cv-02638
                               )
                               )
THE EMBASSY OF THE UNITED ARAB )
EMIRATES,                      )
                               )
And
                               )
THE UNITED ARAB EMIRATES,      )
                               )
     DEFENDANTS.               )


                REPLY MEMORANDUM IN SUPPORT OF
                SPECIALLY-APPEARING DEFENDANTS
          THE EMBASSY OF THE UNITED ARAB EMIRATES AND
THE UNITED ARAB EMIRATES’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
          AND MOTION TO STRIKE PLAINTIFF’S JURY DEMAND
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I.      INTRODUCTION

        As the Embassy of the United Arab Emirates and the United Arab Emirates (together, the

“UAE”)1 demonstrated in their Motion to Dismiss and Motion to Strike (ECF No. 30), they are

protected from civil suit on the basis of sovereign immunity, codified as the Foreign Sovereign

Immunities Act (“FSIA”). In her Opposition, Plaintiff Abla Abdel Baset Youssef

mischaracterizes previously alleged facts (or asserts facts not pleaded in her complaint) and

misconstrues applicable case law in an effort to convince this Court that her employment comes

within the commercial activity exception and therefore the motion to dismiss should be denied.

This effort comes short. Plaintiff’s allegations are insufficient to show that the Cultural

Division’s activities and Plaintiff’s own employment functions as the Employees Affairs

(Personnel) Officer were commercial in nature. Accordingly, this Court should grant the UAE’s

motion and dismiss this action.

II.     PROCEDURAL AND FACTUAL BACKGROUND

        Plaintiff’s Opposition misrepresents both the facts of this case and its procedural history.

Plaintiff asserts that the UAE failed to answer the service of process, leading to an entry of

default. See ECF No. 31-1 at 2 (citing ECF No. 20, dated April 25, 2018). As Plaintiff tacitly

concedes, however, she did not properly serve the UAE with process until May 10, 2018. Id.

(citing ECF Nos. 25 and 26, dated May 10, 2018). Plaintiff acknowledges that this Court granted

the UAE’s motion to vacate entry of default, but states that the Court refused to quash service of

process. Id. Plaintiff omits to mention, however, that the motion to quash service of process




1
 As stated in the UAE’s Motion (ECF No. 30-1 at n.1), the UAE is making a special appearance in this case solely
for the purpose of moving to quash service of process and to vacate an entry of default. The UAE does not waive
service or immunity under the Foreign Sovereign Immunity Act of 1976, Pub. L. 94-583, 90 Stat. 2891, and reserves
and maintains all rights afforded to it as a sovereign state.
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(directed at an earlier, faulty, service attempt) was denied as moot, in part because Plaintiff

herself admitted that earlier service was insufficient. See ECF No. 27 at 7.

        Plaintiff then provides a lengthy recitation that largely regurgitates the allegations in her

Complaint. See ECF No. 31-1 at 6-8. Plaintiff’s Opposition is riddled with material inaccuracies

and factual omissions, as well as assertions of facts that are not in the Complaint. The UAE is

prepared to respond to these assertions at the appropriate time. For the purposes of the UAE’s

motion, the key relevant facts—all of which the Court can consider when ruling on this motion—

are as follows:

                 Plaintiff served as the Employees Affairs (Personnel) Officer at the Cultural
                  Division from 2001 until January 2016. See Compl. ¶ 12. Plaintiff’s position
                  was in the Academic Office, and she reported directly to the Cultural Attaché.
                  Id. ¶ 14. Plaintiff’s duties involved not only assisting the Cultural Attaché in the
                  performance of her duties promoting the academic achievement of UAE citizens
                  in the U.S.A., but also managing a number of workplace issues to ensure that the
                  Division was capable of performing its diplomatic and academic functions. See
                  ECF No. 31-1at 6.

                 Plaintiff enjoyed employment benefits common to other Embassy employees,
                  including time off not only during holidays observed in the United States, but
                  also those observed in the UAE. See ECF No. 30-6, Ex. D (2001 Employment
                  Agreement); ECF No. 30-7, Ex. E (2011 Employment Agreement).2

                 Plaintiff is an Egyptian national, and for the entirety of her tenure with the
                  Cultural Division was only allowed to work in the United States because of an A-
                  2 work visa obtained by the Embassy. See ECF No. 31-1 at 20-21. A-2 visas are
                  available only to “foreign government officials” who “engage solely in official
                  activities for that government [which are] governmental in character or nature,
                  [and not] of a commercial nature.” ECF No. 30-8, Exhibit F (Visas for
                  Diplomats and Foreign Government Oﬃcials, available at




2
  With her Opposition, Plaintiff submitted a copy of the translation of the employment agreement dated February 7,
2011. See ECF No. 31-2, Ex. 1. The translation submitted by Plaintiff is neither accompanied by the signed, Arabic
original nor contains a certification of translation. By contrast, the UAE submitted a translation of the February
2011 agreement (as well as of the earlier 2001 agreement) accompanied by the signed, Arabic original employment
agreement with a notarized certification of translation. The UAE therefore does not necessarily agree that the
translation submitted by Plaintiff as Exhibit 1 (ECF No. 31-2) is accurate.

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                   https://travel.state.gov/content/travel/en/us-visas/other-visa-categories/visas-
                   diplomats.html).3

                  The UAE employed Plaintiff under a one-year contract subject to renewal. ECF
                   No. 31-1 at 7. Thus, virtually every year Plaintiff was employed by the Cultural
                   Division, she signed an Employment Agreement (“Agreement”) describing the
                   at-will nature of her employment and clarifying that the term of her employment
                   was limited to one year. Id.

                  Since 2013, the total number of the Embassy’s Cultural Division staff has been
                   downsized by nearly one-third. See Compl. ¶ 30. Despite the fact that Plaintiff’s
                   position was marked for downsizing and she turned 65 years old in 2014, the
                   Embassy renewed Plaintiff’s one-year contract in December 2013 (for the
                   calendar year 2014) and December 2014 (for the calendar year 2015). See id. ¶¶
                   20-21. Plaintiff’s position was identified for termination following additional
                   budget cuts in 2015 and Plaintiff was given notice that her contract would not be
                   renewed for 2016. See id. ¶ 32.

                  Plaintiff’s position was eliminated and it no longer exists. Plaintiff’s duties were
                   combined with those of another position, and her responsibilities were transferred
                   to another employee already employed by the Cultural Division. See Compl.
                   ¶ 29.

III.     ARGUMENT

         A.       The Purported Withdrawal of the Jury Demand Is Not Sufficient To Moot the
                  Motion to Strike.

         Plaintiff purports to withdraw her legally improper demand for a jury trial in a footnote,

“pursuant to 28 U.S.C. § 1330(a),” and asserts that the UAE’s motion to strike is therefore

“moot.” ECF 31-1 at 1 n.1. This footnote is neither sufficient to withdraw a jury demand, nor to

moot a pending motion to strike the jury demand. “It is axiomatic that a complaint may not be

amended by the briefs in opposition to a motion to dismiss.” Webster v. Spencer, 318 F. Supp.

3d 313, 319 (D.D.C. 2018) (internal quotation marks and citation omitted). Nor does section

3
  As the U.S. State Department explains, “[d]iplomats and other foreign government officials traveling to the United
States to engage solely in official duties or activities on behalf of their national government must obtain A-1 or A-2
visas prior to entering the United States … . To qualify for an A-1 or A-2 visa, you must be traveling to the United
States on behalf of your national government to engage solely in official activities for that government. The specific
duties or services that will be performed must be governmental in character or nature, as determined by the U.S.
Department of State, in accordance with U.S. immigration laws. Government officials traveling to the United States
to perform non-governmental functions of a commercial nature, or traveling as tourists, require the appropriate visas
and do not qualify for A visas.” Id.

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1330(a) provide a mechanism for doing so; it simply vests federal district courts with jurisdiction

over suits involving foreign states where the state is not entitled to sovereign immunity. As the

jury demand is contained within Plaintiff’s Complaint, abandoning that demand requires

amending the Complaint. To amend the Complaint, Plaintiff would have to file an amendment

to the Complaint either with consent from the UAE or permission from this Court. See Fed. R.

Civ. P. 15(a)(2).

       For this reason, Plaintiff’s footnote is not a proper or adequate way to amend her

Complaint to remove the jury demand. Because Plaintiff concedes she cannot demand a jury

trial but has not amended the Complaint to withdraw the demand, the Court should hold Plaintiff

to her concession and grant the UAE’s motion to strike the jury demand.

       B.      The Motion to Dismiss Was Not Procedurally Defective, as Plaintiff Conflates a
               12(b)(1) Motion with a 12(b)(6) Motion and Fails To Properly Consider the
               12(b)(2) Motion.

       In her Opposition, Plaintiff repeatedly conflates the procedural mechanisms for this

motion to dismiss, seeking to characterize the entire motion as being based on Rule 12(b)(6).

See, e.g. ECF No. 31-1at 10-13.

       Plaintiff asserts that “facts outside the record asserted by Defendants must be disregarded

by this Court or th[is] motion should be treated as one for summary judgment and not as a

motion to dismiss.” Id. at 10. That principle, however, applies only to motions under Rule

12(b)(6). With respect to those motions, Federal Rule of Civil Procedure 12(d) does provide that

if matters outside the pleadings are presented to the court in 12(b)(6) motions, then the motion

should be treated as summary judgment. See Fed. R. Civ. P. 12(d). But “Rule 12(d)’s

conversion mechanism applies only to motions under Rule 12(b)(6) or 12(c).” Ord v. District of

Columbia, 587 F.3d 1136, 1140 (D.C. Cir. 2009) (emphasis added).



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       This rule does not provide such restrictions for 12(b)(1) or 12(b)(2) motions. Id. (“[T]he

impropriety of transforming Rule 12(b)(1) motions into summary-judgment motions is well-

settled.”) (internal quotation marks and citation omitted). Rather, a court may choose to rule on

the motion to dismiss on the basis of 12(b)(1) or (12)(b)(2), and in so doing, may rely on matters

outside of the pleadings. See Haase v. Sessions, 835 F.2d 902, 906 (D.C. Cir 1987) (quoting

Gordon v. National Youth Work Alliance, 675 F.2d 356, 362-63 (D.C. Cir. 1982)) (asserting that

“it has been long accepted that the judiciary may make ‘appropriate inquiry’ beyond the

pleadings to ‘satisfy itself on authority to entertain the case.’”). Such matters to be considered

include the complaint and the materials included in motion to dismiss, so long as that material is

admissible for that purpose. See Ord, 587 F.3d at 1140 (considering the plaintiff’s complaint and

arguments under motion to dismiss appropriately included). As set forth in the UAE’s initial

brief and also in Section III.C below, all of the matter the UAE has cited is admissible for this

purpose.

       Plaintiff’s assertion that the UAE’s motion to dismiss must be denied because it refers to

facts alleged outside of her Complaint lacks a basis in law and ignores this Court’s right to

consider facts presented to the Court in support of the UAE’s motion to dismiss.

       Plaintiff also asserts that the UAE makes “no argument” with respect to its motion to

dismiss for lack of personal jurisdiction under Rule 12(b)(2). ECF No. 31-1 at 2 n.2. This

argument misunderstands the statutory scheme. “The ‘interlocking provisions’ of [the FSIA]

compress subject-matter jurisdiction and personal jurisdiction into a single, two-pronged inquiry:

(1) whether service of the foreign state was accomplished properly, and (2) whether one of the

statutory exceptions to sovereign immunity applies.” Nikbin v. Islamic Republic of Iran, 471 F.

Supp. 2d 53, 59 (D.C. Cir. 2007) (quoting Mar. Int’l Nominees Establishment v. Republic of



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Guinea, 693 F.2d 1094, 1099 (D.C. Cir. 1982)). As the D.C. Circuit explained, “the absence of

immunity is a condition to the presence of subject matter jurisdiction … . [And] a lack of subject

matter jurisdiction also deprives the court of personal jurisdiction … .” Mar. Int’l Nominees

Establishment, 693 F.2d at 1099. Because the UAE is entitled to sovereign immunity under the

FSIA, personal jurisdiction over the UAE is lacking.

       C.      There Is No Basis for the Court to Strike Any Facts or Exhibits on Which the
               UAE Relies.

       Plaintiff requests that this Court strike most of the exhibits and factual statements

contained in the UAE’s motion. See ECF No. 31-1 at 12. Her request ignores the fact that the

court may consider matters outside of the pleadings when ruling on 12(b)(1) and 12(b)(2)

motions. This Court therefore may consider these facts and exhibits when evaluating the UAE’s

motion to dismiss on the basis of sovereign immunity.

       Plaintiff argues that this Court may not consider the material published on the official

UAE government websites. Id. at 13-14. As the UAE demonstrates in its motion, however, this

material is appropriate for judicial notice. See ECF No. 30-1 at 3 n.2 (citing cases). For

example, the website that describes the mission and the structure of the Cultural Division is

maintained by the UAE government, is publicly accessible to anyone interested in the Cultural

Division’s operations, bears the official emblem of the UAE, and contains public statements by

high-level UAE government officials, including the Ambassador to the United States and the

Minister of Higher Education. See ECF 30-1, Exs. A, B.

       Plaintiff cites no authority for her argument that the only government websites of which a

court may take judicial notice are those of the U.S. Government. Further, Plaintiff’s unfounded

speculation that the UAE Government would “manipulate or alter” the information on the

websites to benefit the UAE’s arguments, see ECF No. 31-1 at 14, is completely unsubstantiated


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and inappropriate, and contrary to settled principles of international comity. Nor is there any

support for Plaintiff’s contention (see id.) that only material available on public websites of

“uninterested” government agencies may be subject to judicial notice. In Cannon v. District of

Columbia, 717 F.3d 200, 205 n.2 (D.C. Cir. 2013), the court took judicial notice of a District of

Columbia Government website even though the District of Columbia was a party to the case.

Plaintiff’s request to strike is also inconsistent with Plaintiff’s own argument. In fact, one

exhibit that Plaintiff requests be stricken from the record is a U.S. Government website. See

ECF No. 30-8; ECF No. 30-1 at 12.

       Plaintiff’s request that the Court strike these exhibits from the record should be denied.

       D.      The UAE Enjoys Sovereign Immunity in this Case, as the UAE Was Not Engaged
               in Commercial Activity.

       Plaintiff misunderstands the nonbinding two-step test the D.C. Circuit set forth in El-

Hadad v. United Arab Emirates, 496 F.3d 658 (D.C. Cir. 2007), for determining when a foreign

Embassy’s employment of non-diplomatic personnel falls within the commercial activity

exception of the FSIA. This case is distinct from El Hadad, and under the D.C. Circuit’s logic,

sovereign immunity applies here to bar Plaintiff’s suit.

               1.      Plaintiff Is Unable To Demonstrate that the Activities of the Cultural
                       Division Are Commercial in Nature.

       Plaintiff attempts to side-step the reasoning of the Second Circuit in Kato v. Ishihara, 360

F.3d 106 (2d Cir. 2004), by arguing that it is somehow inconsistent with the D.C. Circuit’s

analysis in El-Hadad. See ECF No. 31-1 at 15, 24-31. But there is no inconsistency. Kato’s

admonition that , for the commercial activity exception of the FSIA to apply, the cause of action

must be “based upon” some “commercial activity” by the foreign state, is not inconsistent with

El Hadad, and is further supported by Supreme Court precedent. See Saudi Arabia v. Nelson,

507 U.S. 349, 356 (1993).

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         El-Hadad applies when the action is “based upon” the employment relationship. See

Dahman v. Embassy of Qatar, No. 17-2628, 2018 U.S. Dist. LEXIS 124759, at *11-12 (D.D.C.

July 26, 2018). As another court in this District explained, applying El Hadad, it is therefore

necessary to determine if the employment itself constitutes “commercial activity.” Id. at *11-13.

Indeed, in El Hadad, the terms of the employment contract itself were at issue. El-Hadad v.

Embassy of the United Arab Emirates, No. 96-1943, 2006 U.S. Dist. LEXIS 21491, at *27-35

(D.D.C. Mar. 29, 2006). The instant action is not “based upon” the employment relationship

between Plaintiff and the UAE. Plaintiff is patently unable to identify any term in her

employment contract on which the claim rests. Instead, she makes inaccurate (and unsupported)

assertions about verbal comments allegedly made to her in the course of her employment and

upon its termination. See ECF No. 31-1 at 7-8.

         Kato is instructive as a way to determine whether the government is engaged in actions

that are “typical of a private party.” 360 F.3d at 111.4 The UAE Embassy Cultural Division

does not engage in actions that are typical of a private party, but rather in those typical of a

government, just like the U.S. Department of State’s USA Study Abroad.

         In arguing otherwise, Plaintiff asserts that “any non-profit or private sector philanthropic

or educational organization could perform the tasks and achieve the goals” of the Cultural

Division. ECF No. 31-1 at 25. That statement is simply wrong. The Cultural Division acts in

the best interest of the UAE, and makes its decisions on the basis of what is best for the UAE’s

national interest, not the best interest of a charity or an educational organization. No private

institution can decide what is in a country’s national interest. Plaintiff’s argument is akin to


4
 Plaintiff attempts to distinguish Kato by describing facts irrelevant to the determination of whether or not the
government entity was engaged in commercial activity. While the plaintiff in Kato was a civil servant, the Second
Circuit saw that analysis as not determinative and instead looked to whether or not the government’s activities were
“typical of a private party engaged in commerce.” 360 F.3d at 111.

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saying that the negotiation of treaties is not a government function, because any private company

can negotiate a contract. Likewise, under Plaintiff’s argument, the U.S. Secret Service would not

be exercising a governmental function because private security services protect high-profile

individuals all the time. When the UAE decided who would be granted or denied a scholarship,

it did so based on the UAE’s national interest, not private interests like a charity or educational

organization.

       As Plaintiff’s claim is not “based upon” any “commercial activity” in which the Cultural

Division engages, Plaintiff’s request to deny the motion to dismiss on this ground should fail.

                2.     Plaintiff’s Overly Rigid Application of El-Hadad Fails To Refute the
                       Fact that Plaintiff’s Employment Involved Discretionary Duties and
                       that Her Work Was Not a Commercial Activity.

       Plaintiff applies the El-Hadad five-factor test to determine whether or not she was a civil

servant in a manner that relies heavily on outdated sources and incorrect assertions.

       First, Plaintiff relies on nearly two-decades-old UAE briefs in the initial El Hadad case,

El-Hadad v. United Arab Emirates, 216 F.3d 29 (D.C. Cir. 2000), as ostensibly reflective of the

UAE’s current practices of engaging and retaining its civil service and non-civil service Embassy

personnel. See ECF No. 31-1 at 17 & n.6. But those practices are not frozen in time. Plaintiff’s

reliance on outdated briefs in a different case does not adequately support her argument.

       Second, Plaintiff incorrectly asserts that all Embassy civil servant contracts must be

concluded with the Ministry of Foreign Affairs, and attempts to use this faulty assertion to argue

that her contract with the Cultural Division was therefore analogous to the situation in El-Hadad.

There is no support in El Hadad for Plaintiff’s bald assertion that the formalities of a contractual

relationship of Embassy employees (and, specifically, the contract’s signatories) somehow

indicate non-civil servant status. Plaintiff ignores, moreover, the fact that El-Hadad was a



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contract-based claim, where the second question was asked in order to assess if his claim was

based on his employment contract or on civil service laws. El-Hadad, 496 F.3d at 665-66.

        Plaintiff’s characterization of the third factor is accurate, as prior tenure is not applicable

in this case. See ECF No. 31-1 at 18. That factor therefore does not support her argument that

she is not a civil servant.

        Plaintiff tries to skirt the core issue of the fourth factor—the nature of her work at the

Cultural Division—by emphasizing that “[c]lerical staff squarely come under the FSIA

commercial activity exception.” Id. This exclusion based on legislative history, however, is

expressly applied only to clerical workers, El-Hadad, 496 F.3d at 663-64 (citing H.R. REP. NO.

94-1487, at 16 (1976)), and Plaintiff was promoted out of a clerical job years before the events at

issue in this case. Plaintiff argues that her duties were clerical by pointing to her prior title of

“secretary” and associated job duties many years ago at the inception of her Embassy

employment. ECF No. 31-1 at 18-19. But after that initial employment, Plaintiff (as she admits)

was promoted to the position of an Employees Affairs (Personnel) Officer, and was no longer

serving as a secretary. Id. at 6. Plaintiff does not demonstrate that her actions as an

administrative officer were clerical in nature, instead simply arguing that others at the Cultural

Division performed governmental functions. But just because others were engaged in

discretional governmental functions does not mean she was not conducting discretional

governmental work as well.

        Plaintiff attempts to counter the UAE’s showing that, throughout her tenure with the

Cultural Division, Plaintiff was employed on an A-2 visa, which is issued to “[d]iplomats and

other foreign government officials traveling to the United States to engage solely in official

duties or activities on behalf of their national government.” ECF No. 30-8, Exhibit F (Visas for



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Diplomats and Foreign Government Oﬃcials, available at

https://travel.state.gov/content/travel/en/us-visas/other-visa-categories/visas-diplomats.html); see

also ECF No. 31-1 at 6. Plaintiff’s response is that a holder of an A-2 visa is allowed to

“‘perform[] governmental functions of a commercial nature.’” ECF No. 31-1 at 21 (quoting

Dahman, 2018 U.S. Dist. LEXIS 124759, at *22). But the court in Dahman made that

observation when assessing whether a foreign embassy’s Chief Accountant performed duties of a

commercial nature. See Dahman, 2018 U.S. Dist. LEXIS 124759, at *1-2. On those facts, the

court found that the accountant’s A-2 visa status did not outweigh the other evidence that the

nature of his work was commercial. Id. at *20-23. That is radically different from this case,

where Plaintiff’s duties were not of a commercial or financial nature, but rather were integral to

the functioning of the Cultural Division and contained discretionary element. See ECF No. 30-1

at 16.5

          Plaintiff also argues that the UAE could “hire any private, third-party employee” to

perform Plaintiff’s duties. ECF No. 31-1 at 22. This incorrect assumption drastically

mischaracterizes the nature of Plaintiff’s work and her responsibilities at the Cultural Division,

as she was privy to the actions by high-level, diplomatic employees and their work at the

Division. Asserting that a sovereign nation would permit “any private, third-party employee” to

be as involved in the day-to-day governmental functions of a country is plainly wrong.




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  Plaintiff concedes that the Embassy did not terminate Plaintiff’s A-2 visa (or her medical insurance) after she
rejected the latest (fourth) offer to extend her employment contract, see ECF No. 30-1 at 7-8, but asserts (with no
support) that the Embassy did so only to obtain leverage over Plaintiff and “compel Plaintiff to resign.” ECF No.
31-1 at 21 n.8. Not only is this attempt to allege new facts improper, see Webster, 318 F. Supp. 3d at 319, but it is
also illogical. Plaintiff’s resignation of her Embassy position would have eventually led to the termination of her A-
2 visa status, since it is predicated on that employment. The fact that the Embassy did not immediately terminate
Plaintiff’s visa or health insurance reflects the respectful way in which the Embassy treats its employees, and is
fundamentally inconsistent with Plaintiff’s assertions of alleged mistreatment, both during her employment and
upon termination. See ECF No. 31-1 at 8.

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         Perhaps sensing that none of the factors (much less their combination) weighs decidedly

in her favor, in Plaintiff’s analysis of the fifth factor she proclaims that the Court should take a

“renewed interest” in the weight of third-country national citizenship. Id. at 20. Instead of

explaining the basis for this novel (and unsupported) claim, Plaintiff makes an ironically

xenophobic argument, casting unwarranted aspersions upon the Embassy’s employment

practices apparently because the Embassy employs non-citizens, insinuating that this case

somehow suggests a “xenophobic mindset inconsistent with a state granting civil servant status.”

Id. at 21. This unpleaded allegation is not only wholly unsupported; it is offensive. Nor does it

bear any relationship to the factors for determining when the FSIA’s commercial activity applies.

The resort to such tactics illustrates the lack of support for Plaintiff’s position.

         Plaintiff failed to allege adequately that her employment falls within the commercial

activity exception to the FSIA. The UAE’s motion to dismiss should be granted.

         E.       The DCHRA Claim Should Be Dismissed as a Matter of Law and Plaintiff Fails
                  To Provide a Compelling Argument to the Contrary.

         Plaintiff’s alleged cause of action under the District of Columbia Human Rights Act

(“DCHRA”) is improper because, as Plaintiff concedes, at all relevant times she was working at

the Embassy’s 3522 International Court location, which is indisputably located at the

International Chancery Center (“ICC”) and squarely on federal property that has been leased to

foreign governments.6 Plaintiff attempts to dodge the holding in Paul v. United States, 371 U.S.

245 (1963), by labeling it as “55-year-old authority.” ECF 31-1 at 31. Plaintiff does not

6
  Plaintiff attempts to confuse the issues by purporting that the U.S. State Department website on which the UAE
relies has “conflicting information that calls for discovery on whether the Embassy of the UAE was on federal land
that was designated for foreign states.” ECF No. 31-1 at 32, n. 11 (citing
https://www.state.gov/ofm/property/icc/foreignmissionsaticc/index.htm (last visited Nov.1, 2018), attached hereto as
Ex. A. This purported “conflicting information” is based on Plaintiff’s misreading of the sentence “[t]he three-story
building wing fronts on Reno Road adjacent to the Center.” See Ex. A. That sentence clearly refers to “Reno Road”
being adjacent to the ICC, not the Embassy. In fact, at the top of the webpage Plaintiff cites, the U.S. Department
of State makes plainly clear that the Embassy of the United Arab Emirates is located at the International Chancery
Center. Id.

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contend, however, that Paul is no longer good law. See id. Indeed, the holding in Paul is still

good law and makes clear the “jurisdiction of [the] federal government becomes ‘exclusive’ in

federal enclaves. Paul, 371 U.S. at 248 (citation omitted).

         Plaintiff’s reliance on Sturdza v. United Arab Emirates, 11 A.3d 251 (D.C. 2011), and on

the Foreign Missions Act of 1982 as well as the International Center Act is plainly an attempt to

fit a square peg in a round hole. Sturdza is wholly inapposite to the present case. That case

involved an unlicensed architect operating in an industry that (as Plaintiff concedes) has a clear

carve-out within the Foreign Missions Act and the International Center Act. See ECF 31-1 at 33,

n.12 (arguing that the International Center Act requires foreign government transferees and

grantees to comply with local “codes and regulations relating to building construction”) (citing

Sturdza, 11 A.3d at 256 (internal quotation marks omitted)).7 Plaintiff cites no case law outside

of the wholly inapplicable Sturdza decision to further her argument that the federal enclave

doctrine does not apply here.

         Plaintiff also attempts to further her argument by stating that Section 4307 of the Foreign

Missions Act provides that Sections 4302, 4303, 4304, or 4305 of the Act are not to be construed

to preempt state or municipal law, without any explanation as to what the substance of Sections

4302, 4303, 4304, or 4305 is. See ECF 31-1 at 33. A close review of Sections 4302, 4303, 4304,

and 4305 demonstrates that Plaintiff’s argument is unavailing here. Section 4302 of the Foreign

Missions Act provides the definitions of terms used within the Act, and focuses on terms as they

relate to real property and utilities. 22 U.S.C. § 4302. Section 4303 of the Foreign Missions Act

provides the Authorities of the Secretary of State. Id. § 4303. Section 4304 governs the


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  The D.C. Court of Appeals in Sturdza answered a question certified to it by the D.C. Circuit. See 11 A. 3d at 252-
53. Following the answer to the certified question, the D.C. Circuit rejected the architect’s multiple appeals against
the UAE. See, e.g., Sturdza v. United Arab Emirates, 587 Fed. App’x 660 (D.C. Cir. 2014); Sturdza v. United Arab
Emirates, 727 Fed. App’x 705 (D.C. Cir. 2018).

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provision of benefits through the Secretary of State, the surcharge or fees established by the

Secretary, as well as the in-kind exchange of properties with foreign governments. Id. § 4304.

Lastly, Section 4305 governs the acquisition, sale, or disposition of real property of foreign

missions. Id. § 4305. These provisions have no bearing on the present action, and Plaintiff’s

misrepresentation of the application of 22 U.S.C. § 4307 is a thinly veiled grasp at straws in an

attempt to somehow support her insupportable position that local law applies here.

       At bottom, Plaintiff’s DCHRA claim should be dismissed because she was working on

federal property separate and distinct from the District of Columbia at all relevant times. Her

Opposition shows confusion about the issues more than anything else, and she cites to no

relevant case law to support her position. This Court should therefore dismiss Plaintiff’s

DCHRA-based claim.

IV.    CONCLUSION

       For the reasons set forth above, as well as those contained in the UAE’s opening brief,

this Court should GRANT the UAE’s Motion to Dismiss Plaintiff’s Complaint and Motion to

Strike Plaintiff’s Jury Demand (ECF No. 30).




Dated: November 6, 2018

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, hereby certify that on the 6th day of November 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:


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                                             /s/ Igor V. Timofeyev
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